    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 1 of 8



                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 ALEXIS MADERA PADILLA
 Plaintiff                                   CIVIL 15-2343CCC
 vs
 COMMISSIONER OF SOCIAL
 SECURITY
 Defendant


                                    ORDER

      Claimant Alexis Madera Padilla applied for disability insurance benefits
alleging disability due to high blood pressure and mental impairment. After a
hearing held on December 16, 2013, the Administrative Law Judge (ALJ)
rendered a decision finding (1) that claimant met the insured status
requirement of the Social Security Administration through December 31, 2017,
(2) that he has not engaged in substantial gainful activity since August 10,
2011, (3) that the medical evidence established severe impairments consisting
of a major depressive disorder and generalized anxiety disorder with features
of a panic disorder, (4) that the severity of claimant’s mental impairment,
considered singly and in combination, do not medically equal the criteria of
listing 12.04 and (5) that “claimant is limited to performing unskilled tasks that
are simple and repetitive, that do not involve contact with the public and involve
working primarily with objects instead of interacting with people.”
Administrative Record (A.R.) (d.e. 10), page 20 of ALJ Decision.
      Both the evidence and the application for disability benefits presented by
claimant focuses primarily on a mental impairment alleged. The ALJ’s Decision
discusses plaintiff’s medical history of a mental disorder commencing with his
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 2 of 8



CIVIL 15-2343CCC                             2

treatment at the State Insurance Fund (SIF) years before the alleged onset
date of August 10, 2011. He was diagnosed and treated at the SIF for a major
depressive disorder until his discharge in May 2009. The medical evidence
submitted covers (1) the treatment provided by claimant’s psychiatrist
Dr. Manuel Brignoni Román in 2011, starting on April 11, followed by monthly
appointments from April 2011 through December 2011 and on January and
February 2012,1 the psychiatrist medical report completed by him in
February 2012 as well as treatment notes of February 2013 and (2) treatment
by psychologist Hector J. Marrero from December 2009 to May 2010, May thru
July 2011, December 2011 and February 2012.                      Dr. Marrero issued a
psychological medical report (Exhibit 6F) dated February 17, 2012 and also a
Mental Residual Functional Capacity Assessment prepared in September 2013
(Exhibit 24F).      The February 17, 2012 medical report was issued by
Dr. Marrero at the request of the Social Security Disability Determination
Program. The relevant answers to the questions contained therein reflect the
following: (1) claimant was exposed as a correctional officer to more than
6 riots or fights between persons and began suffering panic attacks and
receiving psychiatric treatment in the year 2003, (2) he evidenced
psycho-motor retardation, slow flow of thought, (3) the content of thought was
of a depressive nature, with mental blockings, psychological interferences,
feelings of worthlessness with some indicators of recollection of traumatic
experiences, classified as a high risk patient as to suicidal factors, oriented in
person, place but having no orientation sometimes as to time, (4) immediate

      1
       He prescribed medication as part of the treatment. He diagnosed severe recurrent major
depression.
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 3 of 8



CIVIL 15-2343CCC                        3

and short term memory partially impaired, (5) attention was diminished . . . had
concentration, retention difficulties, (6) judgment was described as impulsive
but partially impaired due to paranoid treatment, (7) poor ability to perform work
on a timely basis, (8) lack of ability to cope with a schedule, follow detailed
instructions, assumed increased mental demands and to adapt to stressful
circumstances which were described by the psychologist as factors associated
with competitive work. The diagnosis reported by psychologist Marrero was
generalized anxiety disorder with panic attacks and PTSD indicators. The
prognosis reported was “very poor laboral prognosis at present time.”
Dr. Marrero’s opinion regarding claimant’s ability to concentrate and complete
a day’s work was the following: “no doubt that at the present time Alexis does
not possess the functional capacity to be in a competitive work setting and to
complete a normal workday without interruption.” He further opined that
claimant was “not gainfully employable.”
      Dr. Marrero prepared a Mental Residual Functional Capacity Assessment
(Exhibit 24F) dated September 2015 in which he evaluated as moderately
limited claimant’s ability to understand and carry out simple instructions while
he was markedly limited in his ability to understand and carry out detailed
instructions. He was classified markedly limited in the following:
      •     To maintain attention and concentration for extended periods;
      •     To perform activities within a schedule;
      •     Maintain regular attendance and be punctual;
      •     To work in coordination or proximity to others without being
            distracted;
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 4 of 8



CIVIL 15-2343CCC                       4

      •     To complete a normal work day or work week without interruptions
            from psychologically based symptoms; and
      •     To perform at a constant pace without a considerable number and
            length of rest periods.
      Although he was only found moderately limited in his ability to make
simple work related decisions or maintain an ordinary routine without special
supervision, his level of concentration was assessed as markedly limited when
he had to work with others, comply with a schedule and complete a work day
and a work week. Again, he was found moderately limited in his ability to
interact with the general public and to ask simple questions but the assessment
was found to be markedly limited when it came to accepting instructions and
responding to criticism from supervisors or getting along with coworkers without
distracting them or exhibiting behavioral extremes. He was also found to be
markedly limited in his response to changes in the work setting and ability to
set goals or make plans independently. Dr. Marrero concluded that “based on
his clinical findings, at the present time claimant Madera did not possess the
functional capacity to be in a competitive work setting and to complete a
normal work day without interruptions.”
      The medical evidence includes reports of sustained mental health
treatment at the APS Clinics from July 2011 to October 2012. During this
period he was prescribed medication such as Haldol, Depakote, Paxil and
Ativan, without interruption.
      The record reflects an emergency visit and five-day hospitalization in
June 2012 at the Hospital Metropolitano in Ponce with a diagnosis of major
depressive disorder with psychiatric features.       A progress note of the
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 5 of 8



CIVIL 15-2343CCC                       5

APS Clinics at page 615 of the Administrative Record (Exhibit 26F) reflects that
on September 26, 2013 Mr. Madera was instructed to call 9-1-1 or to visit the
nearest emergency room in case of an emergency including suicidal or
homicidal ideas.
      Dr. Armando Caro, a psychiatrist consultant examiner to which claimant
was referred by the Social Security Administration for a mental evaluation, was
also discarded by the ALJ. He evaluated claimant on November 28, 2013.
During the mental status exam conducted, he found the claimant’s mood was
very anxious, he had partial delusions, was oriented in the three spheres, his
concentration, short-term memory and abstract thinking were impaired and his
judgment and insight were poor. He reported a GAF of 50-55 and a diagnostic
impression of post-traumatic stress disorder and severe major depressive
disorder and commented the following: “The claimant’s capacity for social
interaction is impaired based on the patient’s interaction with the interviewer.
The claimant has no capacity to handle funds. His prognosis is poor.”
Exhibit 15F; A.R. p. 575.
      A review of the ALJ’s reasoning, specifically at pages 22 to 24, reflects
that the examiner afforded “little consideration” to the medical findings and
treatment records of Dr. Brignoni, treatment psychiatrist, Dr. Marrero, treating
psychologist, and Dr. Caro, the psychiatrist consultant to whom the S.S.A.
referred claimant for a mental status evaluation on January 28, 2013. What the
ALJ actually did was to discard the diagnosis of major depressive disorder with
psychotic features made by Drs. Brignoni and Marrero and the diagnosis of
Dr. Caro of PTSD and severe major recurrent depression and the
determination of a poor prognosis. In doing this, the ALJ reached conclusions
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 6 of 8



CIVIL 15-2343CCC                        6

such as that Dr. Brignoni’s treatment notes do not validate his diagnosis of a
severe recurrent major depression with psychotic features. He comments that
Dr. Brignoni’s report is internally inconsistent. Similarly, as to Dr. Marrero, he
concludes that his medical opinion was not consistent with the medical record
as a whole and nitpicks details of Dr. Marrero’s mental residual functional
capacity assessment to undermine Marrero’s opinion that based on his clinical
findings claimant did not possess the functional capacity to be in a competitive
work setting and complete a normal work day without interruptions.
See Functional Capacity Assessment, Exhibit 24F, p. 3.
      Dr. Caro’s opinion was also rejected by the ALJ. The reason given was
that “in February 2013 the claimant attended alone to his consultative mental
evaluation with Dr. Nylma E. Rosado Villanueva and he was the sole informant
to Dr. Rosado-Villanueva.”      The unsupported inference is that because
claimant attended Dr. Caro’s office accompanied by his wife, she somehow
meddled in the information provided to Dr. Caro.
      In short, the ALJ did what he is barred from doing. He “arbitrarily
substitute[d] his own judgment for competent medical evidence.” Pietrunti v.
Director, Office of Workers’ Compensation Program, 119 F.3d 1035, 1042(
(2nd Cir. 1997) (quoting McBrayer v. Secretary of Health and Human Services,
712 F.2d 795, 798 (2d Cir. 1983). “An ALJ is nonetheless bound by the expert
opinion of a treating physician as to the existence of a disability “unless
contradicted by substantial evidence to the contrary.”         Pientrunti, supra
(quoting Alston V. Sullivan, 904 F.2d 122, 126 (2d Cir. 1990). The diagnoses
of the treating psychiatrist and psychologist were corroborated by the
consultant psychiatrist, Dr. Caro, to whom the S.S.A. referred claimant for an
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 7 of 8



CIVIL 15-2343CCC                       7

evaluation. There is no medical evidence to contradict the opinion of the
treating mental health doctors. As a matter of fact, the medical findings of all
three physicians, the treating doctors and the consulting psychiatrist, as to
claimant’s mental disorder coincide. The ALJ has only provided conclusions
of his own to reject the opinions of the treating psychiatrist, treating
psychologist and the psychiatrist consultant examiner.
      This is a flawed decision by an examining officer who, on the one hand,
limits claimant to work where he has no contact with humans and
simultaneously discards the following activities as markedly limited over a
normal work day and work week. The activities which Dr. Héctor J. Marrero
indicated as markedly limited in the Mental Residual Functional Capacity
Assessment of claimant (Exhibit 24F, pp. 1-2) include:
      •     The ability to work in coordination with or proximity to others
            without being distracted by them;
      •     The ability to complete a normal workday and workweek without
            interruptions from psychologically based symptoms and to perform
            at a consistent pace without an unreasonable number and length
            of rest periods;
      •     The ability to accept instructions and respond appropriately to
            criticism from supervisors;
      •     The ability to get along with coworkers or peers without distracting
            them or exhibiting behavioral extremes; and
      •     “Madera does not possess the functional capacity to be in a
            competitive work setting and complete a normal work day without
            interruptions.” Exhibit 24F, p. 3.
    Case 3:15-cv-02343-CCC Document 19 Filed 05/16/18 Page 8 of 8



CIVIL 15-2343CCC                       8

      This extreme limitation to work without human contact with others is a
validation of Dr. Marrero’s assessment on claimant’s marked limitation in the
work setting in his interaction with others, i.e. coworkers or supervisors,
despite the ALJ’s rejection of his opinion.
      For the reasons stated, the Court finds that the decision of the ALJ that
claimant is not disabled under sections 216(i) and 223(d) of the Social Security
Act is not supported by substantial evidence in the record and is, therefore,
REVERSED.
      SO ORDERED.
      At San Juan, Puerto Rico, on May 16, 2018.



                                           S/CARMEN CONSUELO CEREZO
                                           United States District Judge
